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                          EXHIBIT A

                         Proposed Order

                           (Attached)
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FCS ADVISORS, LLC,

                                        Plaintiff,

                   —against—                                    21 Civ. 6995 (PKC)
THEIA GROUP, INC., d/b/a “THORIAN
GROUP” and/or “CYPHERIAN”; THEIA
AVIATION, LLC; and THEIA HOLDINGS
A, INC., d/b/a “THORIAN HOLDINGS,”


                                     Defendants.


            ORDER GRANTING FIRST APPLICATION FOR ALLOWANCE
            OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
             OF REED SMITH LLP, AS COUNSEL TO THE RECEIVER,

       Upon consideration of the First Application for Allowance of Compensation and

Reimbursement of Expenses of Reed Smith LLP, as Counsel to the Receiver, dated April 15, 2022

(Doc. 226) (the “Application”) for an Order approving the allowance of compensation and

reimbursement of expenses of Reed Smith LLP (“Reed Smith”), as counsel to the Receiver for the

period of November 9, 2021 through March 31, 2022 (the “Application Period”); and the Court

having determined that sufficient cause exists to approve the Application;

       IT IS HEREBY ORDERED THAT:

       1.      The Application is APPROVED;

       2.      Reed Smith LLP is allowed payment in the total amount of $1,323,971.49 for the

Application Period, consisting of (i) $1,212,009.50 for legal services provided to the Receiver;

(ii) reimbursement of expenses in the amount of $61,961.99, and (iii) a security retainer in the

amount of $50,000; and
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       3.     The Receiver is authorized to pay the unpaid portion of the foregoing amounts as

allowed pursuant to this Order from the property of the Receivership Entities, consisting of

$906,766.32 in fees and $35,677.69 in expenses, for a total amount of $942,378.01.

Dated: __________________, 2022
       New York, New York
                                            _________________________________________
                                            P. KEVIN CASTEL
                                            UNITED STATES DISTRICT JUDGE




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